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                                               6
                                                   Attorneys for Defendant
                                               7   TEG STAFFING, INC. d/b/a EASTRIDGE
                                                   WORKFORCE SOLUTIONS
                                               8

                                               9                               UNITED STATE DISTRICT COURT
                                              10                                      DISTRICT OF NEVADA
                                              11
                                                   SONNY GUBBINE,                                     Case No. 2:21-CV-02078-JAD-EJY
                                              12
                                                                 Plaintiff,
                                              13                                                     STIPULATION AND ORDER TO
                                                   v.                                                EXTEND TIME FOR DEFENDANT TEG
                                              14                                                     STAFFING, INC. D/B/A EASTRIDGE
                                                   HOLDER CONSTRUCTION GROUP, LLC, a                 WORKFORCE SOLUTIONS TO FILE
                                              15   Georgia Limited Liability Company; TEG            RESPONSE TO PLAINTIFF’S
                                                   STAFFING, INC. d/b/a EASTRIDGE                    COMPLAINT
                                              16   WORKFORCE SOLUTIONS, a California
                                                   Corporation; DOES I-X; ROE BUSINESS               (First Request)
                                              17   ENTITIES I-X,
                                              18                 Defendants.
                                              19

                                              20
                                                          Plaintiff SONNY GUBBINE (“Plaintiff”) and Defendant TEG STAFFING, INC. d/b/a
                                              21
                                                   EASTRIDGE WORKFORCE SOLUTIONS (“Defendant”) by and through their undersigned
                                              22
                                                   counsel, hereby agree and stipulate to extend the time for Defendant to file a responsive pleading
                                              23
                                                   from the current deadline of November 26, 2021, up to and including December 3, 2021.
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                                                          Given the upcoming holiday, Defendant needs additional time to prepare its responsive
                                              25
                                                   pleading.
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                                              1            This is the first request for an extension of time to respond to the Complaint. This request

                                              2   is made in good faith and not for the purpose of delay.

                                              3
                                                  Dated: November 23, 2021                              Dated: November 23, 2021
                                              4   Respectfully submitted,                               Respectfully Submitted,
                                              5

                                              6
                                                   /s/ James P. Kemp                                    /s/ Emil S. Kim
                                              7    JAMES P. KEMP, ESQ.                                  ROGER L. GRANDGENETT II, ESQ.
                                                   KEMP & KEMP                                          EMIL S. KIM, ESQ.
                                              8                                                         LITTLER MENDELSON, P.C.
                                                  Attorneys for Defendant
                                              9   FRANK ERCOLANO                                        Attorneys for Defendant
                                                                                                        TEG STAFFING, INC. D/B/A EASTRIDGE
                                       10                                                               WORKFORCE SOLUTION
                                       11

                                       12                                                                 IT IS SO ORDERED.
                                       13
                                                                                                          Dated: November 24, 2021.
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                                       16                                                                 ____________________________________
                                                                                                          UNITED STATES MAGISTRATE JUDGE
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                                                  4893-1489-0756.1 / 062338-1042
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